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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division



  MARRIOTT INTERNATIONAL, INC.,

        Plaintiff,

  v.                                             Civil Action No. 1:21-cv-00610-AJT/JFA

  DYNASTY MARKETING GROUP, LLC,
  et al.,

        Defendants.


                           PLAINTIFF’S NOTICE OF HEARING

       PLEASE TAKE NOTICE THAT on Friday, August 26, 2022, at 10:00 a.m., or as soon

thereafter as counsel may be heard, Plaintiff Marriott International, Inc., by counsel and pursuant

to Local Civil Rule 7(E), will present for hearing its Motion for Leave to File a Supplemental

Memorandum in Opposition to Motions to Dismiss Filed by Defendants Resortcom International,

Inc., Whisl Telecom, LLC, and Rapid Eagle Inc., d/b/a VoIP Essential in accordance with the

accompanying memorandum.



Dated: August 16, 2022                       MARRIOTT INTERNATIONAL, INC.
                                             By counsel


                                             /s/ Attison L. Barnes, III
                                             Attison L. Barnes, III (VA Bar No. 30458)
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 16th day of August, 2022, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will then send a notification of
such filing (NEF) to counsel of record and mailed first class, postage prepaid, to all remaining
parties as follows:

Oficinas Parrott Caribbean S.A. de C.V.              Deep Blue Desarrollos S de R.L. de C.V.
MONTECITO 38 PISO 33 OFICINA21                       d/b/a Vallarta Gardens Private Beach Club &
Napoles Benito Juárez 3810                           Spa Private Residence Club
                                                     Paseo Diaz Ordaz No. 530, Centro, Puerto
                                                     Vallarta

Club Caribe Villa Del Palmar S.A. de C.V.            Cancun Ink Corp. S.A. de C.V.
Xcaret, Manzana 2, Lote 5, Local 20,                 ROSAS NO22 MZA. 24 SM. 22, Cancun
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